                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                               :
OFFICIAL COMMITTEE OF ASBESTOS :
CLAIMANTS OF BESTWALL LLC,     :
                               :
           Appellant,          :
                               :
       v.                      :                          Civil Action No. 19-00396 (RJC)
                               :
BESTWALL LLC,                  :
                               :
           Appellee.           :
                               :
                               :
In re                          :
                               :
BESTWALL LLC,                  :                          Case No. 17-31795 (LTB)
                               :
           Debtor.             :
                               :


GEORGIA-PACIFIC LLC’S RESPONSE IN OPPOSITION TO THE MOTION OF THE
          OFFICIAL COMMITTEE OF ASBESTOS CLAIMANTS
         FOR LEAVE TO APPEAL ORDER DENYING DISMISSAL

        Georgia-Pacific LLC (“New GP”), by and through its undersigned counsel, respectfully

submits this response to the motion (Bankr. Docket No. 918) (the “Motion”) of the Official

Committee of Asbestos Claimants (the “ACC”) for leave to appeal the decision of the

Bankruptcy Court declining to dismiss Bestwall’s chapter 11 case as filed in bad faith.1 In

support of this response, New GP states as follows.




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                 The decision subject to this requested appeal is the Memorandum Opinion and Order Denying
the Official Committee of Asbestos Claimants’ Motion for Dismissal, or Alternatively, Venue Transfer (Bankr.
Docket No. 891), which is referred to herein as the “Order.”




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                                         BACKGROUND

       As described in more detail in the Debtor’s opposition, New GP and Bestwall LLC, the

Debtor, were both formed when a predecessor entity also named Georgia-Pacific LLC (“Old

GP”) undertook a corporate restructuring on July 31, 2017 (the “2017 Corporate Restructuring”)

under the Texas divisional merger statute, codified at Sections 10.001-10.010 of the Texas

Business Organizations Code (“TBOC”). Order at *3. As a result of the 2017 Corporate

Restructuring, and in accordance with Sections 1.002(55)(A) and 10.008(a)(3) of the TBOC and

Old GP’s Plan of Divisional Merger, dated July 31, 2017, Bestwall was allocated certain assets

and liabilities of Old GP, including certain of Old GP’s assets related to the historical Bestwall

Gypsum business and all of Old GP’s asbestos-related liabilities (except for those liabilities for

which the exclusive remedy is provided under a workers’ compensation statute or similar laws).

Id. New GP was allocated the remaining assets and liabilities of Old GP. Id. at 10. Relatedly,

the Debtor is obligated to indemnify New GP for any loses suffered in relation to any Bestwall

Asbestos Claims. See In re Bestwall LLC, 606 B.R. 243, 255 (Bankr. W.D.N.C. 2019) (finding

that “the Debtor (a) has a contractual obligation to indemnify New GP in the event that New GP

is held liable for any Bestwall Asbestos Claims and (b) may have common-law indemnification

obligations to other Protected Parties.”).

       As part of the 2017 Corporate Restructuring, New GP also became party to a funding

agreement with Bestwall (the “Funding Agreement”). Order at 3. The Funding Agreement

requires New GP, without any corresponding repayment obligation by Bestwall, to provide the

funding for a section 524(g) asbestos trust in the amount required by a confirmed plan of

reorganization for Bestwall to the extent that Bestwall’s assets are insufficient to provide the

requisite trust funding. Id. The Funding Agreement and the 2017 Corporate Restructuring were




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designed to ensure that the Debtor had the same ability to fund the costs of defending and

resolving present and future asbestos claims as Old GP.

       New GP and the Debtor are also parties to other contracts under which New GP provides

services and seconds employees to Bestwall. As a result of the foregoing, New GP is a creditor

and party in interest that has a pecuniary interest in this chapter 11 case and statutory standing

under section 1109 of the Bankruptcy Code. 11 U.S.C. § 1109(b) (providing that “a party in

interest, including the debtor, the trustee, a creditors’ committee, an equity security holders’

committee, a creditor, an equity security holder, or any indenture trustee, may raise and may

appear and be heard on any issue in a case under this chapter.”).

       New GP has been an active participant throughout the chapter 11 case. In addition to

briefing and arguing the ACC’s motion to dismiss the case and being granted the right to

intervene and fully participate in the preliminary injunction adversary proceeding, New GP also

has been intimately involved in settlement negotiations and discovery. More specifically, since

the Debtor’s chapter 11 filing, New GP has actively engaged in negotiations and participated in

multiple settlement discussions, including three in-person meetings, with the ACC, the FCR and

the Debtor to explore the prospects for achieving a consensual plan of reorganization. See

Declaration of Gregory M. Gordon, Bankr. Docket No. 641 at 5. In addition, New GP also has

assisted the Debtor in promptly responding to extensive informal requests for discovery from the

ACC and the Future Claims Representative by producing over 195,052 pages of historical

corporate records, transaction documents, financial statements, certain documents from the

Debtor’s litigation files and other documents, including all of the core documents concerning the

2017 Corporate Restructuring. Id. at 3. Lastly, New GP will be participating in the court

ordered mediation that is expected to commence shortly. See Tr. of October 23, 2019 Hr’g at




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70:8-17 (Bankruptcy Court noting that all parties agree that New GP should participate in the

mediation).

       New GP remains committed to assisting Bestwall to achieve a prompt reorganization and

stands ready, willing and able to honor its obligations under the Funding Agreement to fund a

chapter 11 plan that is confirmed by the Bankruptcy Court pursuant to section 524(g) of the

Bankruptcy Code. New GP agrees with, and incorporates herein, each of the arguments set forth

in the Debtor’s opposition and submits this response to highlight several important points in

opposition to the Motion.

                                           ARGUMENT

       New GP hereby joins and incorporates herein all of the factual assertions and legal

arguments set forth by the Debtor in its opposition to the Motion. The Debtor correctly asserts

that the Order is not a final order and fails to meet any of the three requirements for interlocutory

appellate review. Therefore the Motion should be denied.

       I.       The Order Is Not A Final Order

       An order denying a motion to dismiss a chapter 11 case is not a final order, and the ACC

has failed to cite any authority to the contrary. Indeed, the Supreme Court has given

unambiguous guidance that only orders that “finally dispose of discrete disputes within the larger

case” are final orders that may be immediately appealed. Bullard v. Blue Hills Bank, 135 S.Ct.

1686, 1692 (2015) (quoting Howard Delivery Serv., Inc. v. Zurich Am. Ins. Co., 547 U.S. 651,

657 n.3 (2006)). In Bullard, the Supreme Court explicitly noted that “only plan confirmation—

or case dismissal—alters the status quo and fixes the rights and obligations of the parties.” Id.

(emphasis added). The ACC argues to the contrary in reliance on Mort Ranta v. Gorman, 721

F.3d 241, 246 (4th Cir. 2013), a case involving denial of plan confirmation and not of a motion




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to dismiss. But this reliance (even by analogy) is misplaced because the ACC fails to

acknowledge that Bullard overruled Mort Ranta. As a result, the ACC is left with no support

cited for its argument that an order denying case dismissal constitutes a final order.

         Contrary to the discredited and inapplicable Mort Ranta outlier on which the ACC hangs

its hat, Fourth Circuit case law supports the argument that the Order is not a final order. See, e.g.,

Culver v. Molinario, 67 F.3d 294 (Table), 1995 WL 570437, at *1 (4th Cir. 1995) (holding that

an order denying a motion to dismiss a chapter 7 bankruptcy case is not a final order because “it

does not resolve the litigation, decide the merits, settle liability, establish damages, or even

determine the rights of any party to [the] bankruptcy case”); Comm 2013 CCRE 12 Crossings

Mall Ltd v. Tara Retail Group, LLC, 2017 U.S. Dist. LEXIS 101987, *10 (N.D. W. Va. June 30,

2017) (holding that denial of creditor’s motion to dismiss is not a final order subject to appeal

because the denial did not result in anything in the case being finally determined).2

         The Order, which denied the ACC’s motion to dismiss the Debtor’s chapter 11 case, has

relevant similarities to the order entered in Tara Retail. Like the Tara Retail order, the Order

entered below is not final because it does not finally resolve any discrete issue in the Bestwall

case or result in the case’s conclusion. In fact, upon entry of the Order, nothing in the chapter 11

case changed. Rather, the Bankruptcy Court’s decision not to dismiss the chapter 11 cases

simply allowed the case to proceed forward towards mediation, and hopefully confirmation of a

section 524(g) plan. See Tara Retail Group, 2017 U.S. Dist. LEXIS 101987, at *10 (explaining

that “nothing in this case has been finally determined except that, at least for the present time,

[the debtor] will be permitted to continue with its bankruptcy proceeding.”). In fact,


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           The majority of the Circuit Courts to consider the question have likewise held that the denial of a motion
to dismiss a chapter 11 (or chapter 13) case is interlocutory, not final. See In re Lane, 591 B.R. 298, 303 (6th Cir.
BAP 2018); In re Jartran, 886 F.2d 859, 863-64 (7th Cir. 1989); In re 405 N. Bedford Dr. Corp., 778 F.2d 1374,
1379 (9th Cir. 1985); In re Comm. of Asbestos-Related Litigants, 749 F.2d 3, 5 (2d Cir. 1984).



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circumstances changed so little that the ACC filed a new motion to dismiss the chapter 11 less

than a month after the entry of the Order, and this second motion to dismiss remains pending.

Motion of the Official Committee of Asbestos Claimants (I) to Dismiss the Debtors Chapter 11

Case for Cause Pursuant to 11 U.S.C. Sec. 1112(b), or Alternatively, (II) to Set a Deadline (A)

by Which the Debtor Must Confirm a Chapter 11 Plan or (B) to Lift the Preliminary Injunction

in Favor of New GP and the Protected Parties, Bankr. Docket No. 938.

       Because the Order did not resolve any issues in this case, it is neither final nor appealable

as of right. Rather, the Bankruptcy Court will continue to administer the chapter 11 case, and the

rights of the ACC’s constituents remain to be determined. To that end, the Bankruptcy Court

already has found that the case serves a “valid reorganizational purpose,” See Order at *5; and

that “[a]ny liabilities will be resolved and channeled only if Bestwall succeeds in confirming a

plan of reorganization that contains a channeling injunction that extends to those Protected

Parties.” In re Bestwall LLC, 606 B.R. at 58.

       II.     The Court Should Not Grant Leave To Appeal From The Order

       New GP also respectfully submits that there is no basis to grant the ACC’s fallback

request for leave to pursue an interlocutory appeal. To determine whether to grant an

interlocutory appeal under 28 U.S.C. § 158(a), the ACC concedes that the Fourth Circuit uses the

three-part test from 28 U.S.C. § 1292(b), which requires that (a) the appeal involves a controlling

question of law, (b) as to which there is substantial ground for difference of opinion and (c) an

immediate appeal from the order may materially advance the ultimate termination of the

litigation. 28 U.S.C. § 1292(b). See also Biltmore Invs., Ltd. v. TD Bank, N.A. (In re Biltmore

Invs., Ltd.), 538 B.R. 706, 710-11 (W.D.N.C. 2015). The statute requires that the requested




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appeal meet all three requirements. The ACC has failed to establish any of them, and therefore

leave to appeal should not be granted.3

         Regarding prong (a), the ACC argues in the Motion that the two-prong test for dismissing

a bankruptcy case set forth in Carolin Corp. v. Miller, 886 F.2d 693 (4th Cir. 1989) is in conflict

with other circuit court decisions and that “taking the interlocutory appeal will permit the

Committee to address the circuit split directly to and ultimately with the Fourth Circuit promptly

and efficiently.” Motion at 19. However, that does not constitute a dispute regarding a question

of law, because the ACC frankly admits that the Bankruptcy Court applied the correct governing

legal standard. Id. at 18 (stating that “[t]he Committee concedes that the bankruptcy court was

obligated to follow Carolin Corp., and the standard raised therein, when deciding the issues

raised in the Motion to Dismiss”). In addition, only the Fourth Circuit, sitting en banc, could

reconsider and modify the clear and controlling precedent set by Carolin 30 years ago.

Therefore, the Order does not address a question involving a discrete question of law that is

appropriate for an interlocutory appeal.

         With respect to prong (b), the ACC’s citations to other circuits likewise do not satisfy the

requirement that the order being appealed involve “substantial ground for difference of opinion.”

As noted earlier, the ACC concedes that Carolin is controlling law in the Fourth Circuit. The

fact that other circuits have differing views has no bearing on the Bankruptcy Court’s

determination as to whether it properly applied applicable law. “[A] controlling question of law


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            Moreover, “even if the requirements of section 1292(b) are satisfied, the district court has ‘unfettered
discretion’ to decline [to hear an interlocutory appeal] if exceptional circumstances are absent. Appellants must
establish that exceptional circumstances justify a departure from the basic policy of postponing appellate review
until after the entry of a final judgment.” Lemberg Law, LLC v. Arrowsmith (In re Health Diagnostic Lab. Inc.),
2017 WL 2129849 at *3 (E.D. Va. May 16, 2017) (internal citations omitted). See also Spinozzi v. LendingTree,
LLC, No. 3:08-md-1976-FDW, 2009 WL 1259351, at *1 (W.D.N.C. May 5, 2009) (noting that “Section 1292(b)
clearly places the burden of persuasion upon the movant to demonstrate exceptional circumstances justifying a
departure from the final judgment policy”) (internal quotations omitted).



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involves a ‘substantial ground for difference of opinion’ only when the law remains unclear in

the controlling jurisdiction and other courts have issued conflicting decisions.” Tara Retail,

2017 U.S. Dist. LEXIS 101987 at *12 (emphasis added); In re Health Diagnostic Lab., Inc.,

2017 WL 2129849 at *4 (“A ground for dispute is substantial where, for example, the controlling

circuit has made no comment on conflicting opinions among the various circuits ... or where the

dispute raises a novel and difficult issue of first impression”). Thus, the fact that the ACC

concedes that there is controlling Fourth Circuit law effectively constitutes an admission that the

second prong is lacking.4

         Lastly, the ACC is wrong that an appeal of the Order will materially advance this case.

That argument already failed to convince the Fourth Circuit to accept a direct appeal of this

matter pursuant to 28 U.S.C. § 158(d)(2)(A). As discussed in the Debtor’s objection, the only

scenario under which the ACC could even conceivably obtain its requested relief to change the

relevant bad faith dismissal standard in this Circuit would require multiple appellate events to

occur, and only then would the dispute be remanded to the Bankruptcy Court to apply any new

dismissal standard that may be established to the existing factual record. Thus, the ACC has

failed to satisfy any of the requirements for leave to pursue an interlocutory appeal.5



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            The ACC is also incorrect that “an interlocutory appeal is appropriate in those instances where cases in
which the parties earnestly dispute the law.” Motion at 18 [sic]. The ACC fails to quote the full language from the
KPMG case which explicitly notes that “[i]n the interest of judicial economy, it is appropriate that district courts not
deem the second element satisfied whenever parties disagree as to a Bankruptcy Court’s interlocutory order, but
rather only where substantial ground for disagreement exists as to the controlling issues of law that informed the
order.” KPMG Peat Marwick LLP v. Estate of Nelco, Ltd., 250 B.R. 74, 79 (E.D.Va. 2000). In denying the request
for interlocutory appeal, the court explained that “[a]lthough KPMG expounds at length as to the supposed mistakes
of the Bankruptcy Court, an interlocutory appeal will lie only if a difference of opinion exists between courts on a
given controlling question of law, creating the need for an interlocutory appeal to resolve the split or clarify the
law.” Id. at 82 (emphasis in original).
         5
          The ACC’s Motion is chock full of irrelevant rhetoric regarding the 2017 Corporate Restructuring and the
preliminary injunction granted in favor of New GP. To the extent that the ACC believes that an appeal of the
preliminary injunction order is appropriate, it may seek to pursue such an appeal, but that is not relevant as to
whether to grant an interlocutory appeal of the Order.



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                                          CONCLUSION

       For the reasons set forth in the Debtor’s objection and herein, the ACC has failed to show

that the Order is a final order or that the Order satisfies any of the three requirements for

interlocutory appellate review as set forth in 28 U.S.C. § 1292(b) and, accordingly, the Court

should deny the ACC leave to appeal the Order.




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This the 2nd day of December, 2019

                                      /s/  John R. Miller, Jr.__________________
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